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 6
                          IN THE UNITED STATES BANKRUPTCY COURT
 7
                                  FOR THE DISTRICT OF ARIZONA
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     In re:                                      )      In Proceedings Under
 9                                               )      Chapter Thirteen
     CHRISTIAN MICHEL HUGHES                     )
10   SS# ***-**-9806                             )      Case No. 2:18-bk-00450-MCW
                                                 )
11   and                                         )      DEBTORS’ OBJECTION TO
                                                 )      THE PROOF OF CLAIM FILED
12   EMILY LOELLA HUGHES,                        )      BY VICTORIA LINDSAY
     SS# ***-**-9332                             )      PROPERTIES, LLC, CLAIM #19
13                                               )
                  Debtors.                       )
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              COME NOW the Debtors, CHRISTIAN MICHEL HUGHES and EMILY LOELLA
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     HUGHES, (hereinafter "Debtors") by and through their undersigned counsel, and pursuant to
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     Rule 3007, hereby object to the proof of claim filed by VICTORIA LINDSAY PROPERTIES,
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     LLC for the following reasons:
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              1. The Debtors owe Victoria Lindsay Properties, LLC nothing.
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              2. Joint Debtor Emily Hughes owned a business named My Vintage Venue, LLC which
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     entered into a contract on May 7, 2015 to purchase real property owned by Victoria Lindsay
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     Properties, LLC. Such property had operated as and was to continue to be operated as a wedding
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     and event venue.
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              3. Through financial investment from My Vintage Venue, LLC and the personal work
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     and effort of the joint debtor, the wedding and event venue was restored and improved.
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     Additionally the venue received personal property replacements and upgrades to carry on the
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     wedding venue business. Subsequently, My Vintage Venue, LLC’s financing for the real
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     property fell through.
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 1          4. After the financing fell through and lease negotiations failed, a financial dispute arose

 2   between the parties. My Vintage Venue, LLC brought a state court action CV2016-013857

 3   (Maricopa Cnty. Sup. Ct.) against Victoria Lindsay Properties, LLC and another entity related

 4   through ownership, Lavender and Old Lace, LLC. These two entities countersued My Vintage

 5   Venue, LLC in that same proceeding.

 6          5. After counsel for Victoria Lindsay Properties, LLC became aware that My Vintage

 7   Venue, LLC would be filling a Chapter 7 bankruptcy, the Debtors were amended on as

 8   counterclaim defendants in the state court litigation.

 9          6. The state court litigation had not been resolved before My Vintage Venue, LLC filed a

10   Chapter 7 bankruptcy proceeding on December 28, 2017.

11          7. To resolve a Lis Pendens against the real property that was the wedding and event

12   venue, the defendants in the state court litigation ( Victoria Lindsay Properties, LLC and

13   Lavender & Old, LLC) agreed to place $150,000 proceeds into escrow from the closing of the

14   real estate from the sale to a new buyer.

15          8. Because of the dispute over the funds in escrow the Debtors listed a disputed

16   unsecured debt potentially owing to these Creditors in their Schedule F.

17          9. On March 28, 2018 Creditor Victoria Lindsay Properties, LLC filed an unsecured

18   proof of claim in this case (Claim #19) in the amount of $629,573.56. Creditor states that the

19   basis for the claim is, “Claims against debtors; CV2016-013857 (Maricopa Cnty. Sup. Ct.)” but

20   fails to attach any documentation supporting their claim.

21          10. The Debtors contend in this case that they are not legally liable in any amount to

22   creditor Victoria Lindsay Properties, LLC.

23          11. If creditor Lindsay Properties, LLC is entitled to any amount arising from its dispute

24   with My Vintage Venue, LLC, such claim would appropriately be filed and addressed in that

25   debtor’s Chapter 7 liquidation bankruptcy proceeding, not in this Chapter 13 case.

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 1          12. Creditor Victoria Lindsay Properties, LLC provides no evidence to substantiate their

 2   claims as required by Rule 3001. Without the proper documentation and supporting information

 3   required under Bankruptcy Rule 3001(c)(1), Rule 3001(c)(2)(A), and Rule 3001(f), the creditors

 4   claim lacks prima facie validity.

 5          WHEREFORE, the Debtors pray that this Court:

 6          a) grant their objection to the proof of claim of Victoria Lindsay Properties, LLC.
            b) disallow a claim in this case filed by Victoria Lindsay Properties, LLC.
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 8
            DATED this 10th day of May , 2018.
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10                                                FARNSWORTH LAW OFFICES

11
                                                   /s/ Dwayne Farnsworth (#13209)
12                                                Attorney for Debtors

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